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NEM:MS

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X

UNITED STATES OF AMERICA                                    REMOVAL TO THE
                                                            NORTHERN DISTRICT OF
             - against -                                    NEW YORK

AKEEM BALOGUN,                                              (Fed. R. Crim. P. 5)

                           Defendant.                       Case No. 24-MJ-202

---------------------------X

EASTERN DISTRICT OF NEW YORK, SS:

                Connor Liggett, being duly sworn, deposes and states that he is a Deputy Marshal with

the United States Marshals Service (“USMS”), duly appointed according to law and acting as such.

                On or about December 5, 2023, the United States District Court for the Northern

District of New York issued a warrant for the arrest of the defendant AKEEM BALOGUN for

violating Title 18, United States Code, Sections 1344 and 1349 (conspiracy to commit bank fraud).

                The source of your deponent’s information and the grounds for his belief are as

follows: 1

                1.         On or about December 5, 2023, a federal grand jury in the Northern District of

New York returned an indictment (the “Indictment”) charging the defendant AKEEM BALOGUN

with violating Title 18, United States Code, Sections 1344 and 1349 (conspiracy to commit bank

fraud). A true and correct copy of the Indictment is attached as Exhibit A.




        1
               Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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               2.     On or about that same day, December 5, 2023, the United States District Court

for the Northern District of New York issued a warrant (the “Warrant”) for the arrest of the defendant

AKEEM BALOGUN. A true and correct copy of the Warrant is attached as Exhibit B.

               3.     On or about March 6, 2024, law enforcement agents arrested the defendant

AKEEM BALOGUN in Brooklyn, New York pursuant to the Warrant.

               4.     During his arrest, the defendant AKEEM BALOGUN confirmed his name and

date of birth to law enforcement agents, which matched the name and date of birth of the AKEEM

BALOGUN wanted in the Northern District of New York. Law enforcement agents also compared

the physical appearance of AKEEM BALOGUN to a photograph of AKEEM BALOGUN contained

in records on file with the USMS of the AKEEM BALOGUN wanted in the Northern District of New

York and he appeared to be the same person depicted in this photograph. Finally, law enforcement

agents confirmed that the defendant AKEEM BALOGUN’s fingerprints matched fingerprint records

on file with the USMS for the AKEEM BALOGUN wanted in the Northern District of New York.
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              5.     Based on the foregoing, I submit that there is probable cause to believe that the

defendant is the AKEEM BALOGUN wanted in the Northern District of New York.

              WHEREFORE, your deponent respectfully requests that the defendant AKEEM

BALOGUN be removed to the Northern District of New York so that he may be dealt with according

to law.

                                             _______________________
                                            Connor Liggett
                                            Deputy Marshal
                                            United States Marshals Service

Sworn to before me this
6th___ day of March, 2024


__S/ Cheryl Pollak
_________________________________________
THE HONORABLE CHERYL L. POLLAK
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
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                           EXHIBIT A
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                                                      *Name Redaction
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                            EXHIBIT B
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